

ORDER

PER CURIAM.
AND NOW, this 25th day of February, 2005, a Rule having been entered by this Court on December 29, 2004, pursuant to Rule 214(d)(1), Pa.R.D.E., directing Mark Peter Pazuhanich to show cause why he should not be placed on temporary suspension, upon consideration of the response filed, it is hereby
ORDERED that the Rule is made absolute; Mark Peter Pazuhanich is placed on temporary suspension pursuant to Rule 214(d)(2), Pa.R.D.E., and he shall comply with all the provisions of Rule 217, Pa. R.D.E.; and the matter is referred to the Disciplinary Board pursuant to Rule 214(f)(1), Pa.R.D.E.
